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                                                            Exhibit A

               Customary and Comparable Compensation Disclosures for White & Case
       The blended hourly rate for White & Case timekeepers (including both professionals and
paraprofessionals) who have billed time to the Debtors during the Application Period was
approximately $1,359 per hour (the “Debtors Blended Rate”).1
       The non-bankruptcy blended hourly rate for White & Case’s timekeepers during the 12-
month period from January 1, 2023 to and including December 31, 2023 (the “Comparable
Period”)2 was, in the aggregate, approximately $1,028 per hour (the “Non-Bankruptcy Blended
Rate”).3
             A detailed comparison of these rates is as follows:
                                 Category of                Debtors   Non-Bankruptcy
                                 Timekeeper              Blended Rate  Blended Rate
                              Partner                              $1,718                     $1,444
                              Counsel                              $1,310                     $1,204
                              Associate4                           $1,088                       $883
                              Paraprofessional5                      $380                       $373
                              Aggregate                            $1,359                     $1,028




1      White & Case calculated the blended rate for timekeepers who billed to the Debtors by dividing the total dollar amount billed
       by such timekeepers during the Application Period by the total number of hours billed by such timekeepers during the
       Application Period. Accordingly, it does not reflect the voluntary reductions made by White & Case in connection with the
       Monthly Fee Applications.
2      On an annual basis, White & Case reexamines and adjusts for increases in seniority and changes in experience, expertise, and
       status in January of each year the rates for lawyers and paraprofessionals. The calculation of the Non-Bankruptcy Blended
       Rate includes the rates White & Case billed in 2023.
3      White & Case calculated the Non-Bankruptcy Blended Rate by dividing the total dollar amount billed by non-bankruptcy
       timekeepers in the applicable offices to all matters during the Comparable Period by the total number of hours billed by non-
       bankruptcy timekeepers in the applicable offices to all matters during the Comparable Period. For purposes of the foregoing
       calculation, White & Case included New York, Miami, and Los Angeles as the applicable offices.
4      Includes law clerks.
5      May include individuals who have been admitted to the bar.


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